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                         NOTICE OF APPEARANCE FOR SUBSTITUTE, ADDITIONAL, OR AMICUS COUNSEL



       Short Title: United States of America v. Vereen (Perez)                                    Docket No.: 24-162

       Substitute, Additional, or Amicus Counsel’s Contact Information is as follows:

       Name: Ashley C. Nicolas

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       Appearance for: United States of America/Appellee
                                                                    (party/designation)
       Select One:
       G Substitute counsel (replacing lead counsel:                                                                                )
                                                                    (name/firm)

       G Substitute counsel (replacing other counsel:                                                                               )
                                                                    (name/firm)

      G Additional counsel (co-counsel with: Danielle Renee Sassoon/U.S. Attorney's Office for the Southern District of New York
      ✔                                                                                                                             )
                                                                    (name/firm)

       G Amicus (in support of :                                                                                                    )
                                                                    (party/designation)



                                                                 CERTIFICATION
       I certify that:

       G I am admitted to practice in this Court and, if required by Interim Local Rule 46.1(a)(2), have renewed
       ✔

       my admission on October 6, 2022                                                                                             OR

       G I applied for admission on                                                                                                 .



       Signature of Counsel: /s/

       Type or Print Name: Ashley C. Nicolas
